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The Honorable Katherine B. Forrest

United States District Judge

Southern District of New York

United States Courthouse

500 Pearl Street New York, New York 10007

Dear Judge Forrest,

Abraham Lincoln once said, “I have always found that mercy bears richer fruits than strict justice.” It was
a particularly warm fall evening and | was feeling excited, nervous and important all at once. | was a
young, middle-class girl that had grown up with a good education, friends, and a mother who worked
hard to provide for me and my siblings. My feelings of excitement and importance quickly turned to
fear, despair and ignorance. | was soon exploring those feelings in the back of a police car and then ina
10 x 10 cell. | had a lot to learn that fall and in the years to come.

My possession and distribution of narcotics crime carried a 75 year prison sentence. In the year | waited
for my sentencing, i had nightmares every night about what 75 years in prison would be like and |
desperately tried to find some peace in my mind. | was finally able to exhale when the judge sentenced
me to 90 days in a “boot camp” program. | was a youthful offender and the judge believed | should be
given a second chance to contribute to society in a positive way.

The lessons | was learning only increased as | began to serve my shortened sentence. | realized the path
| was on before was the wrong one. The drugs | was dealing were affecting peoples’ lives in ways | could
not determine. | had more potential than being a drug dealer. Prison was more than a deterrent, it was
a catalyst for a new beginning. If | had been sentenced to 75 years in prison, I’d still be there today and
there would be no new beginning. Instead, I’m now a mother, a teacher, and a wife. I’ve taught
children to read, built a school in a foreign country, helped to free women and children from abusive
homes, and spent countless hours volunteering for community organizations.

| met Ross in Costa Rica in 2003. He was bright and eager and well on his way to changing the world.
We surfed together and enjoyed the beauty and uniqueness of the biologically rich jungle which
surrounded us. In the evening we talked about community, integrity, politics and religion. | distinctly
remember being impressed meeting someone of his age (then just 18-19) who had altruistic visions to
unite and help communities around him. | periodically saw him throughout the years as he continued to
visit Costa Rica and | always found his demeanor to be kind and caring.

| was shocked when | read a Time article about his arrest in late 2013. I’ve followed his trial and as | read
testimony on the internet, | could not help but come back to my own feelings and lessons from my bout

with the law.

| regularly read to my son and one of the books he loves is /t’s Okay to Make Mistakes. The message in
the book is that we learn from our mistakes and the lesson we learn from our mistakes often leads us
down a new path. | believe, like me, Ross has made a horrible error in judgement. He went down the
wrong path, and, yes, there should be consequences, but should the justice be strict? | know that the
mercy | received has allowed me to be a “richer fruit” and | believe that Ross, too, has the potential,
desire and strength to walk a new path and be a positive and contributing member of our society. |
thank you for your time and consideration of my plea.

Sincerely,

Elizabeth Oden
